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                    United States District Court
                      District of Massachusetts

________________________________
                                 )
UNITED STATES OF AMERICA,        )
                                 )
          v.                     )
                                 )        Criminal No.
MAXIMO LARYI HERRERRA PENA,      )        10-10017-NMG
                                 )
          Defendant.             )
________________________________ )

                         MEMORANDUM & ORDER

GORTON, J.

     Defendant Maximo Laryi Herrerra Pena, a.k.a., Emerson Adams

(“Pena”) is scheduled to be sentenced by this Court for the

crimes of conspiracy and aiding and abetting in the distribution

of heroin.   Currently before the Court are his motions 1) to

require the government to prove, beyond a reasonable doubt, its

averment that death resulted from his crimes and 2) for an

evidentiary hearing on the issue of death resulting.

I.   Background

     On December 23, 2010, a second superseding indictment was

returned charging defendant Maximo Laryi Herrerra Pena, a.k.a.,

Emerson Adams (“Pena”) and various co-defendants with conspiracy

to possess with the intent to distribute and to distribute

heroin, in violation of 21 U.S.C. § 846 and 841(a)(1), (b)(1)(B)

(Count I), and aiding and abetting in the distribution of heroin,

in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) and 18 U.S.C.

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§ 2 (Count II).

     The conspiracy count further alleges that 100 or more grams

of heroin were involved, and both counts allege that death and

serious bodily injury resulted from the use of that heroin.

The death-resulting allegation pertains to the defendant’s

alleged role in distributing heroin to Chelsea Joslin on July 30,

2009.    The following day, Ms. Joslin was found dead at the home

she shared with her parents in Brewster, Massachusetts.             A

medical examiner determined that heroin played a significant

causal role in her death.

     On February 9, 2012, the defendant pled guilty to both

counts without waiving his defense to the death-resulting

allegation or admitting during the Rule 11 colloquy that any of

the heroin distributed by him, or by other members of the

conspiracy in which he participated, resulted in the death of Ms.

Joslin.     The government took the position that the resultant

death is not an element of either offense (and therefore it need

not be admitted to sustain the convictions) but rather is a

sentencing factor that may be proved to a judge by a

preponderance of the evidence at sentencing.

     The defendant has moved to require the government to prove

the death resulting averment to a jury beyond a reasonable doubt

or, in the alternative, for an evidentiary hearing on the matter.




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II.   Pertinent Statutory Provisions and Sentencing Ranges

      Before addressing the merits of the defendant’s motions, a

brief description of the the pertinent statute, 21 U.S.C. § 841,

is in order.   Subsection (a) of that statute, entitled “unlawful

acts”, makes it a crime

      for any person knowingly or intentionally to manufacture,
      distribute, or dispense, or possess with the intent to
      manufacture, distribute, or dispense, a controlled
      substance.

Subsection (b), entitled “penalties”, provides that “any person

who violates subsection (a) of this section shall be sentenced as

follows...” and proceeds to list sentencing ranges based upon

facts such as drug quantity or type, prior conviction and whether

death or serious bodily injury resulted from the use of the

counterfeit substance.

      The pertinent “penalty” provisions in this case are

§ 841(b)(1)(B) and (C).     Under § 841(b)(1)(B), a person who

distributes 100 or more grams of heroin “shall be sentenced to a

term of imprisonment which may not be less than 5 years and not

more than 40 years.”     Under § 841(b)(1)(C), a person who

distributes less than 100 grams of heroin “shall be sentenced to

a term of imprisonment of not more than 20 years.”          Both

provisions provide that if death or serious bodily injury results

from the use of the distributed substance, “such person ... shall

be sentenced to a term of imprisonment of not less than 20 years

or more than life.”

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      Applying those provisions here, Pena faces a sentence of

between 20 and 40 years on Count One and 20 years on Count Two if

the Court concludes that “death resulting” is a sentencing factor

and finds it has been proved by a preponderance of the evidence.1

By contrast, Pena faces a sentence of between 5 and 40 years on

Count One and between 0 and 20 years on Count Two if the Court

concludes that “death resulting” is an element of the crime or,

alternatively, that the government did not meet its preponderance

of the evidence burden.       Only if the “death resulting” averment

were submitted to a jury and proved beyond a reasonable doubt

would the Court be authorized to impose a sentence in excess of

the 40-year and 20-year statutory maximums. See Apprendi v. New

Jersey, 530 U.S. 466, 489 (2000) (holding discussed below).

III. Analysis

      Defendant’s motions present three quandaries: 1) the impact

of Apprendi on the range of sentences this Court may impose,

2) whether “death resulting” is a sentencing factor or an element

of a separate crime and 3) if the Court considers it a sentencing

factor, whether the Court should hold an evidentiary hearing.




1
  The requirement of a 20-year sentence is the peculiar convergence of the 20-
year mandatory minimum and the 20-year statutory maximum. United States v.
Krieger, 628 F.3d 857, 863 (7th Cir. 2010) (“Apprendi, in this case, set the
maximum sentence at twenty years, for the facts to which Krieger pleaded. The
death resulting finding set the minimum sentence at twenty years. Thus, the
mandatory minimum converged with the statutory maximum and the district court
could impose but one sentence – twenty years.”).

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     A.   Impact of Apprendi and Harris

     Apprendi v. New Jersey, 530 U.S. 466, 489 (2000), announced

the familiar constitutional limit on Congress’s power to define

crimes: “Other than the fact of a prior conviction, any fact that

increases the penalty for a crime beyond the prescribed statutory

maximum,” whether designated by statute as an element or a

sentencing factor, “must be submitted to a jury, and proved

beyond a reasonable doubt.”     As a result, judge-found sentencing

factors cannot increase the maximum sentence a defendant is

authorized to receive based on facts found by a jury or admitted

to during a Rule 11 colloquy. Id.       As a corollary, any fact that

increases the penalty for a crime within the statutory maximum

may be found by a judge by a preponderance of the evidence, even

if that fact subjects a defendant to a mandatory minimum

sentence. Harris v. United States, 536 U.S. 545, 567-68 (2002).

     According to the defendant, Apprendi mandates that “death

resulting” be proved to a jury beyond a reasonable doubt because

it raises the maximum authorized penalty on both counts to life

imprisonment.   The statutory maximum sentence for the conspiracy

crime alleged in Count One is 40 years, 21 U.S.C. § 841(b)(1)(B),

and the statutory maximum sentence for the distribution crime set

forth in Count Two is 20 years, 21 U.S.C. § 841(b)(1)(C).

Defendant is correct that a finding that the defendant caused the

death of Ms. Joplin would trigger a 20-year mandatory minimum and


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increase the statutory maximums for both counts to life

imprisonment.   That alone, however, does not implicate Apprendi.

     It is settled law in this Circuit that “Apprendi error

arises only if the defendant receives a sentence beyond the

default statutory maximum for the offense of conviction.” United

States v. Jiminez, 498 F.3d 82, 87 (1st Cir. 2007) (emphasis

added).   As long as this Court sentences Pena within the

statutory maximums authorized by the facts admitted in his plea

colloquy (40 years and 20 years for Counts One and Two,

respectively), Apprendi is not implicated.

     B.    Death resulting: sentencing factor or element of
           separate crime?

     Of far greater significance and complexity is the second

issue: whether the death resulting averment is an element of a

separate crime or a sentencing factor.       Pena contends that the

“death resulting” averment in the Indictment is a separate crime

and, as such, must be proved to a jury beyond a reasonable doubt

consistent with the Fifth and Sixth Amendments to the United

States Constitution.    The government responds that death

resulting is a sentencing factor which may be proved to a judge

by a preponderance of the evidence at sentencing.         If the Court

concludes that it is an element of a separate crime, the 20-year

mandatory minimum may not be imposed unless a jury trial is

convened to adjudicate that discrete issue and the government

proves the resultant death beyond a reasonable doubt.

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          1.    The Separate Crime Cases

     Because this issue conjoins complicated matters of statutory

interpretation and constitutional law, its background will be

rehearsed in some detail.     While the Supreme Court has declined,

since Apprendi, to adopt any further constitutional limitations

on Congress’s power to define crimes, it has on a number of

occasions parsed criminal statutes to determine whether Congress

intended for certain statutory provisions carrying severe

penalties to be considered sentencing factors (to be found by a

judge by a preponderance of the evidence) or elements of separate

crimes (to be found by a jury beyond a reasonable doubt).

     Instead of analyzing the prudence or constitutionality of

allocating certain kinds of conduct to the sentencing phase

rather than the trial phase, the Supreme Court has limited its

inquiry to determining whether or not Congress intended to do so.

See, e.g., Castillo v. United States, 530 U.S. 120, 126 (2000).

To discern the intent of Congress, the Court reviews the

statute’s language and structure, the length and severity of the

punishment it imposes and whether the provision in question is a

“traditional sentencing factor.”      See id.

     In Almendarez-Torres v. United States, 523 U.S. 224, 226

(1998), the Court reviewed 8 U.S.C. § 1326(a), which forbids

previously deported aliens from returning to the United States

without special permission and authorizes a maximum punishment of


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two-years imprisonment for violations.       Subsection (b)(2)

authorizes a considerably longer maximum prison term (20 years)

for any violator whose initial deportation “was subsequent to a

conviction for commission of an aggravated felony.” Id. at 232.

In Almendarez-Torres, the Court framed the issue as whether

subsection (b)(2) “defines a separate crime or simply authorizes

an enhanced penalty.” Id. at 226.

     Concluding that Congress intended the prior commission of an

aggravated felony to be a sentencing factor rather than an

element of a separate crime, the Court relied principally on

statutory language, subject matter and purpose. Id. at 228-46. It

first noted that recidivism, the subject of the enhancement, is

“as typical a sentencing factor as one might imagine,” an

indication that Congress intended it as a sentencing factor in

the deportation statute as well. Id. at 230.        Turning to the

statute itself, the Court noted that the inclusion of internal

cross-references between subsections (a) and (b) would not have

been necessary or natural if Congress had intended the subsections

to define two separate, independent crimes. Id. at 231.          Next,

the Court emphasized that characterizing the two provisions as

separate crimes would result in cumulatively punishing a

defendant for two crimes where one crime is a lesser included

offense of the other, a result that it presumed Congress would

never intend. Id.   Finally, the Court pointed out that the 1988


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amendment incorporating subsection (b) is titled “Criminal

penalties for reentry of certain deported aliens” and stated that

     [a] title that contains the word ‘penalties’ more often,
     but certainly not always … signals a provision that deals
     with penalties for a substantive crime.

Id. at 234.   For all of those reasons, the Court concluded that

Congress’s intent was “reasonably clear.”

     The inquiry was not as straightforward in Jones v. United

States, 526 U.S. 227 (2002).     In that case, the Court considered

18 U.S.C. § 2119, which provides that any person who carjacks

another shall be imprisoned for not more than 15 years unless

serious bodily injury or death results, in which case the maximum

authorized punishment is increased to 25 years and life

imprisonment, respectively.     The Court framed the issue as

whether Congress intended the statute to define three distinct

offenses or a single crime with a choice of three maximum

penalties based on two sentencing factors. Id. at 229.         As with

the deportation statute, § 2119 begins with an initial paragraph

describing the statute’s obvious elements and then lists the

penalties in subsections.     The Court acknowledged that the

language and structure of § 2119 strongly suggest that Congress

intended the “serious bodily injury” and “death” resulting

enhancements to serve as sentencing factors. Id. at 233.

     Yet the Court held to the contrary, finding that the

“serious bodily injury” and “death” provisions constitute


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separate crimes that must be proved to a jury beyond a reasonable

doubt. Id. at 251-52.   The Court emphasized that many federal and

state robbery statutes include causation of serious bodily injury

or harm as an element defining a distinct offense of aggravated

robbery, an indication that Congress intended to prescribe

similar treatment of those enhancements in the federal carjacking

statute. Id. at 235-37.    What was apparently most persuasive was

the magnitude of the penalties the statute authorizes on the

basis of judicial fact-finding:

     These not only provide for steeply higher penalties, but
     condition them on further facts (injury, death) that seem
     quite as important as the elements in the principal
     paragraph (e.g., force and violence, intimidation). It is
     at best questionable whether the specification of facts
     sufficient to increase a penalty range by two thirds, let
     alone from 15 years to life, was meant to carry none of
     the process safeguards that elements of an offense bring
     with them for a defendant’s benefit.

Id. at 234.   Given the perceived ambiguity, the Court invoked the

doctrine of constitutional doubt and construed the statute to

define three distinct offenses. Id. at 251-52.        In so doing, it

signaled a potential willingness to impose a further

constitutional limit on Congress’s power to define crimes.

     Over the succeeding few years, the Court analyzed three

provisions of a federal firearm statute, 18 U.S.C. § 924(c),

which prohibits any person from using a firearm in connection

with a crime of violence or drug trafficking, and sets forth

escalating mandatory minimums depending on the type of weapon


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used and manner in which it was used: five years if the gun is

possessed, seven years if the gun is brandished, ten years if the

gun is discharged, short-barreled, or semiautomatic, and thirty

years if the gun is a machinegun or has a silencer. See Harris v.

United States, 536 U.S. 545 (2002) (interpreting the brandishing

provision); Castillo v. United States, 530 U.S. 120 (2000)

(interpreting the original machinegun enhancement); United States

v. O’Brien, 130 S.Ct. 2169 (2010) (interpreting the amended

version of the machinegun enhancement).       As with Jones and

Almendarez-Torres, each of those cases was reviewed to resolve

the discrete issue of whether the respective provision constitutes

a sentencing enhancement or an element of a separate crime.

     Ultimately, the Court interpreted the machinegun enhancement

as an element of a separate crime, see Castillo, 530 U.S. at 131

and O’Brien, 130 S.Ct. at 2180, but characterized the brandishing

enhancement as a sentencing factor, see Harris, 536 U.S. at 556.

In Harris, the Court pointed to the statute’s structure (a single

paragraph followed by a number of subsections) as evidence that

Congress intended the brandishing enhancement, which is located

in a subsection, to function as a sentencing factor. 536 U.S. at

552-53.   In Castillo and O’Brien, however, the Court

characterized the machinegun enhancement as an element of a

separate crime, even though the brandishing and machinegun

provisions were framed in substantially identical terms and


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located in structurally parallel provisions. 530 U.S. at 131; 130

S.Ct. at 2180.

     The Court noted two distinctions between the machinegun and

brandishing provisions.    First, it found that brandishing is a

“paradigmatic sentencing factor” because it involves “special

features of the manner in which a basic crime was carried out

(e.g., that the defendant . . . brandished a gun).” Harris, 536

U.S. at 553.    It concluded that the type of gun used, on the

other hand, has not traditionally been understood as a sentencing

factor. Castillo, 530 U.S. at 126.      Second, it noted that

     the length and severity of an added mandatory sentence
     that turns on the presence or absence of a “machinegun”
     (or any of the other listed firearm types) weighs in
     favor of treating such offense-related words as referring
     to an element.

Id. at 131.    In contrast, it concluded that the brandishing

enhancement “ha[s] an effect on the defendant’s sentence that is

more consistent with traditional understandings about how

sentencing factors operate,” insofar as it allows for

incremental, rather than drastic, increases to the mandatory

minimum sentence. Harris, 536 U.S. at 554.

          2.     United States v. Goodine

     While the First Circuit has not addressed whether “death

resulting” in § 841(b) is a sentencing factor or an element of a

separate crime, it has held that the question of drug quantity in

§ 841(b) is a sentencing factor.     See United States v. Goodine,


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326 F.3d 26, 27 n.3, 32 (1st Cir. 2003).        In determining that

drug quantity is a sentencing factor, the Court emphasized 1) the

clear language and structure of the statute, 2) that a judge’s

determination of drug quantity will simply guide the judge to a

sentence within the permissible statutory range and 3) that “drug

quantity is a classic sentencing factor” because it “goes to how

the offense is conducted, rather than the result of the crime.”

Id. at 31-32.    The Court then noted “a practical result” of its

ruling: if all the facts contained in § 841(b) were to be treated

as elements, “the statute would define as many as 350 different

offenses.   Such an interpretation causes difficulty we think

Congress did not intend.”    Id. at 32.

     Goodine is not directly controlling here because the First

Circuit did not address the fact of “death resulting” and the two

provisions are materially different.       It is nevertheless

instructive because 1) it interpreted a penalty provision located

in the same section of the same statute and 2) its use of the

factors outlined in Castillo provides a helpful starting point for

this Court’s analysis.

            3.   Castillo Factors

     In Castillo, the Supreme Court outlined five factors to

consider in determining whether Congress intended for an

enhancement to be a sentencing factor or an element of a separate

crime: 1) the language and structure of the statute in question,


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2) tradition, 3) the risk of unfairness, 4) the legislative history

and 5) the severity of the sentence increase. 530 U.S. at 124-31.

     With respect to the first factor, the language and structure

of § 841 is a very strong indication that Congress intended for

death resulting to be a sentencing factor rather than an element.

“Federal laws usually list all offense elements in a single

sentence and separate the sentencing factors into subsections.”

Harris, 536 U.S. at 552 (internal quotation omitted).        Here,

§ 841(a), titled “unlawful acts”, defines an offense and § 841(b),

titled “penalties”, delineates sentencing ranges for violations

thereof based on drug type and quantity, prior conviction and

whether death or serious bodily injury resulted from use of the

controlled substance.    In holding that drug quantity is a

sentencing factor rather than an element, the First Circuit has

stated that “[a] straightforward reading suggests that part (a)

identifies a crime and part (b) outlines different penalties for

that crime.”   Goodine, 326 F.3d at 31 (internal citation omitted).

That “death resulting” is located in the same subsection is thus

highly relevant, if not dispositive.

     Nonetheless, the Supreme Court has specifically admonished

that, when resolving whether a fact is a sentencing factor or

element, the “look” of a statute “is not a reliable guide to

congressional intentions” where the provisions in question “not

only provide for steeply higher penalties, but condition them on


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further facts (injury, death) that seem quite as important as the

elements in the principal paragraph...."      Jones, 526 U.S. at 233;

see also United States v. O'Brien, 542 F.3d 921, 924-25 (1st Cir.

2008), aff’d, 130 S. Ct. 2169 (2010) (noting that application of

the Supreme Court’s test has, several times, required courts to

treat facts as elements rather than sentencing factors “even though

bare statutory language might seem to point the other way”).

Notably, however, the Court commented that Congress had

“explicitly” treated serious bodily injury as a sentencing factor

in two statutes which, similarly to § 841, listed elements of a

crime in one section titled “offenses” or “prohibited activities”

and then listed sentencing ranges in a subsequent section titled

“penalties”.   Id. (citing 18 U.S.C. §§ 2262(b)(2) and 248(b)(2)).

Nonetheless, absent an explicit statement from Congress in the

statute itself that death resulting is a sentencing factor, the

Court must consider the remaining Castillo factors.

     The second factor to consider is whether Congress has

traditionally treated death-resulting as a sentencing factor or

element.   The Supreme Court has stated that, generally,

     [t]raditional sentencing factors often involve either
     characteristics of the offender, such as recidivism, or
     special features of the manner in which a basic crime was
     carried out (e.g., that the defendant abused a position of
     trust or brandished a gun).

Castillo, 530 U.S. at 126; see also Goodine, 326 F.3d at 32

(“[D]rug quantity goes to how the offense is conducted, rather than


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the result of the crime.       As such, it is more analogous to the

statutes in which the Supreme Court identified sentencing

factors.”).       In contrast, “[c]haracteristics of the offense

itself,” such as the fact of a resultant death or bodily injury,

“are traditionally treated as elements.” O’Brien, 130 S. Ct. at

2176.     Even so, the fact of death (or bodily injury) is, as the

Seventh Circuit has noted, often listed in the “penalties” portion

of statutes, indicating “that Congress seems to have intended for

courts to consider the fact that a death has resulted as a

sentencing factor.”      United States v. Krieger, 628 F.3d 857, 865-66

(7th Cir. 2010) (“It would be odd indeed for Congress to habitually

include ‘death resulting’ types of increases in portions of

statutes labeled ‘penalties’ or ‘punishments’ when in fact Congress

intended for this factor to be included as an element.”).           Thus,

insofar as the definitional framework conflicts with real-world

practice, “tradition” with respect to death-resulting is difficult

to discern and is not a particularly compelling factor.

        In the Court’s view, the third factor is not implicated here

because there is no indication that asking a jury, rather than a

judge, to decide whether a death resulted would complicate the

trial or unfairly prejudice the defendant.           The fact of death

resulting is distinguishable from facts which have previously

been found to risk unfairness: there is no potential conflict

between the findings of the judge vis-a-vis the jury, see, e.g.,


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Castillo, 530 U.S. at 128 (noting a potential for unfairness

where “a judge’s later, sentencing-related decision” might

conflict with a jury’s prior factual determinations), and the

question of death-resulting involves only the repercussions of

the crime with which the defendant is currently charged rather

than past wrongs or bad acts which may be less relevant or

unfairly used as character evidence, see, e.g., Almendarez-Torres

v. United States, 523 U.S. 224, 235 (1998) (noting that requiring

the jury to determine the fact of recidivism risks unfairness

because “the introduction of evidence of a defendant’s prior

crimes risks significant prejudice”).      In any event, risk of

unfairness is not a factor upon which courts have placed much

emphasis.

     The fourth factor, legislative history, does not point

strongly in one direction or the other.      The First Circuit has

observed that, when enacting § 841, Congress referred to the

“sentencing procedures” as affording “maximum flexibility to

judges”, suggesting that Congress viewed the penalty provisions

as sentencing factors, Goodine, 326 at 31 (citing H.R. Conf. Rep.

91 1444 (1970)), but has also noted that the legislative history

“is scarce, and others have found it unhelpful”, id.

     The fifth factor, the severity of the sentence accompanying

a finding that death resulted, here indicates that death-

resulting is an element, not a sentencing factor.        A finding that


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death resulted from use of the drugs that Pena distributed would

escalate his minimum sentence from 5 to 20 years for Count One

and from 0 to 20 years for Count Two.         Moreover, upon a such

finding, the Court’s sentencing discretion, at least with respect

to Count Two, would not merely be constrained but would be

eviscerated insofar as only one sentence (20 years) would be

permissible.

       The Supreme Court has emphasized that sentencing factors

typically do not entail “drastic” or “steeply higher penalties”

but rather involve “incremental changes in the minimum” that

constrain a judge’s discretion within a sentencing range.

Compare O’Brien, 130 S. Ct. at 2177 (finding that increase in

mandatory minimum from 5 years to 30 years strongly suggests a

separate substantive crime), and Jones, 526 U.S. at 233 (same for

increase from 15 years to life), with Harris, 536 U.S. at 554

(“[I]ncremental changes in the minimum – from 5 years, to 7, to

10 – are precisely what one would expect to see in provisions

meant to identify matters for the sentencing judge’s

consideration.”).      As the Court emphasized in Jones,

       It is at best questionable whether the specification of
       facts sufficient to increase a penalty range by two
       thirds, let alone from 15 years to life, was meant to
       carry none of the process safeguards that elements of an
       offense bring with them for a defendant’s benefit.

526 U.S. at 233.      The Court reiterated most recently in O’Brien

that


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     [i]t is not likely that Congress intend[s] to remove the
     indictment and jury trial protections when it provide[s]
     for such an extreme sentencing increase.

130 S. Ct. at 2178.

     In sum, the two factors weighed most heavily by the Supreme

Court in the separate crime analysis are at loggerheads: the

statutory language and structure of § 841 point decisively toward

a finding that death resulting is a sentencing factor, whereas

the steep mandatory minimum imposed upon a finding of death tugs

in the opposite direction.    The remaining factors do not counsel

strongly in one direction or the other.

          4.   Circuit Split

     With the Castillo factors divided, it is unsurprising that

the two Circuit Courts which have reached the issue fail to agree

on the proper outcome.

     The Sixth Circuit has held that the fact of death resulting

is an element, emphasizing the drastic sentence increase

attendant upon a finding of a resultant death:

     it would indeed require a casual approach to the trial
     rights afforded defendants under our Constitution if this
     court were to allow a trial court to determine that a
     defendant who pled guilty merely to the physical
     distribution of a drug (with a corresponding sentence of
     less than 20 years) is subject to a sentence of up to
     life imprisonment because the court believed, only by a
     preponderance of the evidence, that death resulted from
     that crime . . . .

United States v. Rebmann, 226 F.3d 521, 525 (6th Cir. 2000).           Two

district courts have joined the Sixth Circuit in holding that


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death resulting is an element of a separate crime. United States

v. Westry, No. 05-0206, 2006 WL 538885, at *2-3 (S.D. Ala. Mar.

3, 2006); United States v. Martinez, 268 F. Supp. 2d 70 (D. Mass.

Jun. 3, 2003).

     The Seventh Circuit has reached the opposite conclusion.           In

holding that death resulting is a sentencing factor, the Seventh

Circuit relied on statutory language and structure and its prior

decisions construing drug quantity as a sentencing factor:

     Certainly there are factors ... that point us toward
     defining “death resulting” as an element of the crime,
     but this court is hard pressed to ignore the most
     important considerations: first, the clear command of the
     language listing “death resulting” in the “penalties”
     section of the statute, and second, our precedent (at
     least when considering drug quantity) of defining the
     considerations in § 841(b) as sentencing factors (so long
     as they do not increase the sentence above the statutory
     maximum).

Krieger, 628 F.3d at 866-67.

     That lower courts have had difficulty situating the first

and fifth factors within the decisional calculus is unsurprising.

Reconciling Jones and O’Brien with Almendarez-Torres and Harris

is no easy task.    In each of those cases, the Supreme Court

stated that it was not imposing a constitutional limit on the

ability of Congress to define crimes but rather was simply

striving to divine its intent.      If that were so, one would expect

the Court to have focused primarily on the language and structure

of the statutes and to have turned to secondary indicia of



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congressional intent only where the statutes themselves were

ambiguous.   That is not, however, what has transpired.

           5.     Conclusion

     In any event, with respect to the conflict between the clear

command of the statute and the significant mandatory sentence

increase it mandates, this Court agrees with the Seventh Circuit

and will rely upon the statutory language to discern the intent

of Congress.    By including the provision in the “Penalties”

section of the statute, 21 U.S.C. § 841(b), Congress quite

clearly expressed its intent to make death resulting a sentencing

factor.   The Court will treat it as such.

     C.    Evidentiary Hearing

     To prove “death resulting”, the government must show “cause-

in-fact”, i.e.,

     that the decedent’s death was caused in fact by his or
     her use of drugs that were distributed either by the
     defendant himself or by others in a conspiracy of which
     the defendant was a part.

United States v. De La Cruz, 514 F.3d 121, 138 (1st Cir. 2008).

     Pena asserts that an evidentiary hearing is warranted to

probe two particular issues: 1) the credibility (or lack thereof)

of Joshua Johnson (“Johnson”), a co-conspirator who pled guilty

on both counts and, after entering into a favorable plea

agreement, testified at a grand jury hearing, and 2) whether or

not heroin was, in fact, the cause of Chelsea Joslin’s death.

Pena seeks to confront both Johnson and Dr. Henry Nields (“Dr.

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Nields”), the medical examiner who performed Ms. Joslin’s autopsy

and testified that he was unable to rule out the possibility that

other substances in her system at the time of her death had alone

been fatal.   The government responds that such cross-examination

is unnecessary because the grand jury testimony of those

witnesses is corroborated by other evidence and is thus reliable.

See United States v. Williams, 10 F.3d 910, 914 (1st Cir. 1993)

(“[W]e repeatedly have upheld reliance on prior hearsay testimony

never subjected to cross-examination, so long as there were other

adequate indicia of reliability.”).

     The Court concludes that the defendant has met his burden of

showing that “material facts are in genuine doubt or dispute” and

that a hearing would be helpful in resolving that dispute.

Lilly, 983 F.2d at 310;    United States v. Rodriguez, 336 F.3d 67,

70 (1st Cir. 2003).   Moreover, given the substantial impact a

finding of death would have on the defendant’s sentence, fairness

dictates that defendant be provided an opportunity to challenge

the basis upon which the death-resulting allegation rests.

Johnson and Dr. Nields are both essential witnesses in that

regard and their further testimony may be useful to the Court in

ascertaining whether the defendant’s heroin was ingested by Ms.

Joslin and caused her death.     See Krieger, 628 F.3d at 861

(evidentiary hearing held to determine whether fentanyl was the




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cause of death because the victim had numerous other substances

in her system).

                                 ORDER

     In accordance with the foregoing, the defendant’s motion to

require the government to prove the “death resulting” element to

the jury beyond a reasonable doubt (Docket No. 133) is DENIED,

but the defendant’s motion for an evidentiary hearing (Docket No.

162) is ALLOWED.

     The Court will hold an evidentiary hearing (not to exceed

three hours) on Thursday, July 19, 2012 at 10:00 a.m. on the

limited issue of whether the government can establish by a

preponderance of the evidence that Chelsea Joslin’s death

resulted from use of heroin the defendant caused to be

distributed.   The government shall make Joshua Johnson and Dr.

Neilds available to testify.



So ordered.

                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge

Dated July 18, 2012




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